              THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
             CIVIL CASE NO. 1:24-cv-00290-MR-WCM


AMBER HOSACK, for herself and   )
dog “Gracie” as Guardian, Riparian
                                )
Rights Guardian, Class of       )
Community to Be Named by        )
Hosack,                         )
                                )
                  Plaintiff,    )
                                )
         vs.                    )            ORDER
                                )
FEMA, AMERICAN RED CROSS,       )
LANDLORD DOG OWNER ROSS         )
CRAIG SAULTERS, BOYFRIEND       )
“JOHN DOE,” EPA, WATER          )
UTILITIES COMPANY, and          )
LANDOWNERS FAILING TO           )
PROVIDE WARRANTY OF             )
HABITABILITY,                   )
                                )
                  Defendants.   )
_______________________________ )


     THIS MATTER is before the Court on the Motion to Dismiss filed by

the United States of America on behalf of the Federal Emergency

Management Agency (FEMA) and the Environmental Protection Agency

(EPA) (hereinafter “the Federal Defendants”) [Doc. 6] and the Plaintiff’s

“Remand to State Court Notice of Illegal Removal,” which the Court

construes as a motion to remand [Doc. 10].


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I.     PROCEDURAL BACKGROUND

       The Plaintiff Amber Hosack, proceeding pro se, filed the present action

in the Superior Court for Transylvania County on November 1, 2024. In her

Complaint, she names the following Defendants: FEMA, the American Red

Cross, “Landlord Dog Owner Ross Craig Saulters,” “Boyfriend ‘John Doe,’”

the EPA, “Water Utilities Company, and “Landowners Failing to Provide

Warranty of Habitability.” [Doc. 1-1]. While her claims are difficult to discern,

it appears that the Plaintiff is claiming that she was denied the right to apply

for FEMA disaster assistance following Tropical Storm Helene 1; she was

denied access to a shelter by the American Red Cross; and that she was

wrongfully denied access to water or to a “water security insurance ‘back up

plan’ to provide water to society and nature.” [Doc. 1-1 at 3]. She purports

to bring such claims on behalf of herself, as well as her dog “Gracie,” and as

a “riparian rights guardian” and on behalf of a “class of community to be

named by Hosack.” [Id. at 1].




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 It is unclear from the Complaint whether the Plaintiff attempted to seek FEMA disaster
assistance in North Carolina or in Florida, which was affected by both Hurricane Helene
and Hurricane Milton. To the extent that the Plaintiff’s claims relate to incidents that
occurred in Florida, this Court is not the proper venue for such an action. See Fed. R.
Civ. P. 12(b)(3).
                                             2



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        For relief, she seeks a multi-million dollar award against all of the

Defendants, including $454,800,000 in compensatory damages against

FEMA.      [Doc. 1-1 at 7].   She also seeks injunctive relief, including the

creation of an “animal abuse registry” and the creation of “a proper society

plan of public baths, showers, fountains, wells, shelter for homeless

individuals….” [Id. at 8].

        The United States removed this action on November 25, 2024, and

thereafter filed a Motion to Dismiss the Federal Defendants. [Doc. 6]. On

January 7, 2025, the Magistrate Judge entered an Order pursuant to

Roseboro v. Garrison, 528 F.2d 309, 310 (4th Cir. 1975), advising the Plaintiff

of her right to respond to the Government’s Motion. [Doc. 9]. The Plaintiff

was given until January 28, 2025, to file such a response. [Id.]. The Plaintiff

did not timely respond to the Government’s Motion. Instead, on February 5,

2025, she filed the “Remand to State Court” [Doc. 10], a “Notice of Fraud via

Removal” [Doc. 11], and a “Notice of Violation of Due Process” [Doc. 12].

II.     DISCUSSION

        As an initial matter, to the extent that the Plaintiff’s filing entitled

“Remand to State Court” can be construed as a motion for remand, such

motion is denied. A motion to remand based on any defect other than a lack

of subject matter jurisdiction must be made within 30 days after the filing of
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the notice of removal. See 28 U.S.C. § 1447(c). The Plaintiff filed her notice

on February 5, 2025, well outside of this 30-day window. Accordingly, the

Plaintiff’s request for a remand is untimely and is denied.

      To the extent that the Plaintiff claims that she was denied FEMA

assistance, the Government has presented certified business records

establishing that she has never registered or applied for such assistance. 2

[See Doc. 8-1: Verified Statement of Silvia Whoolery]. With respect to the

EPA, the Plaintiff makes no allegations within the Complaint as to EPA’s

liability. As for the other named Defendants, the Plaintiff’s allegations against

them are frivolous, irrational and unintelligible. As such, the Complaint is

legally baseless and presents no cognizable basis upon which the Court can

grant any relief. A complaint is deemed frivolous “where it lacks an arguable

basis either in law or in fact.” Neitzke v. Williams, 490 U.S. 319, 325 (1989);

Adams v. Rice, 40 F.3d 72, 75 (4th Cir. 1994) (“Legally frivolous claims are

based on an ‘indisputedly meritless legal theory’ and including ‘claims of

infringement of a legal interest which clearly does not exist.’”). The Court




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  Generally, the Court cannot consider matters outside the pleadings on a motion to
dismiss without converting it into a motion for summary judgment. See Fed. R. Civ. P.
12(d). The Court, however, may consider “documents attached to the motion to dismiss,
so long as they are integral to the complaint and authentic.” Occupy Columbia v. Haley,
738 F.3d 107, 116 (4th Cir. 2013) (citations omitted).
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has inherent authority to dismiss a frivolous action sua sponte. See Ross v.

Baron, 493 F. App’x 405, 406 (4th Cir. 2012) (noting that “frivolous complaints

are subject to dismissal pursuant to the inherent authority of the court, even

when the filing fee has been paid”) (citing Mallard v. United States Dist. Ct.

for S.D. of Iowa, 490 U.S. 296, 307-08 (1989)). Accordingly, in the exercise

of its discretion, the Court will dismiss this action as frivolous.

      This is one of four actions involving the Plaintiff that are currently

pending before the Court. Each of these actions involve frivolous, irrational

and often incomprehensible allegations. The Plaintiff is hereby advised that

litigants do not have an absolute and unconditional right of access to the

courts in order to prosecute frivolous, successive, abusive or vexatious

actions. See Demos v. Keating, 33 F. App’x 918, 920 (10th Cir. 2002); Tinker

v. Hanks, 255 F.3d 444, 445 (7th Cir. 2002); In re Vincent, 105 F.3d 943, 945

(4th Cir. 1997). District courts have inherent power to control the judicial

process and to redress conduct which abuses that process. Silvestri v. Gen.

Motors Corp., 271 F.3d 583, 590 (4th Cir. 2001).

      The Plaintiff is hereby informed that future frivolous filings will result in

the imposition of a pre-filing review system. Cromer v. Kraft Foods N. Am.,

Inc., 390 F.3d 812, 818 (4th Cir. 2004); Vestal v. Clinton, 106 F.3d 553, 555

(4th Cir. 1997). If such a system is placed in effect, pleadings presented to
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the Court which are not made in good faith and which do not contain

substance, will be summarily dismissed as frivolous. See Foley v. Fix, 106

F.3d 556, 558 (4th Cir. 1997). Thereafter, if such writings persist, the pre-

filing system may be modified to include an injunction from filings. In re

Martin–Trigona, 737 F.2d 1254, 1262 (2d Cir. 1984).

                                   ORDER

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 6] is GRANTED, and the Plaintiff’s Complaint [Doc. 1] is

DISMISSED WITHOUT PREJUDICE as frivolous.
                             Signed: February 6, 2025
     IT IS SO ORDERED.




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